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UNITED STA TES DIS TRICT CoURT l D-C-
WESTERN DISTRICT OF TENNESSEEU§ AUG _9 AH 5, 57

WESTERN DIVISION
THOMAS M. GSULD
deny u_.S_, sewer omni
W,'a.) (_.PI- li'i §:¢iz':i~vi?"r£i$
UNITED STATES OF AMERICA, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
ONE NEGOTIABLE CHECK IN THE AMOUNT CASE N(): 2:04cv2476-B
OF $37,000.00 AND THE FUNDS REPRESENTED
THEREBY,
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Consent Order entered on
August 4, 2005, this cause is hereby dismissed with prejudice

VED:

 

J. D IEL BREEN "\
N El) sTATEs DISTRICT coURT
d §Z 05
Date Clerk of Court
wm y

(By) Deputy Cler

THoMAs M. eouLD

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CV-02476 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

